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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



BEST BRANDS CONSUMER
PRODUCTS, INC.,

       Plaintiff/Counterclaim-Defendant,        Civil Action No. 3:18-cv-16443

                      v.                        Judge Freda L. Wolfson

HORIZON GROUP USA, INC.,                        JURY TRIAL DEMANDED AS TO
                                                COUNTERCLAIMS
       Defendant/Counterclaim Plaintiff.




                  DEFENDANT HORIZON GROUP USA, INC.’S
            ANSWER, AFFIRMATIVE DEFENSES AND COUNTERCLAIMS

       Defendant/Counterclaim-Plaintiff Horizon Group USA, Inc. (“Horizon”), by and through

its undersigned counsel, hereby answers the Complaint filed by Plaintiff/Counterclaim-

Defendant Best Brands Consumer Products, Inc. (“Best Brands”). To the extent not specifically

admitted, Horizon denies each and every allegation in the Complaint.

       Horizon bases its responses to the allegations in the Complaint on actual knowledge of its

own actions, and information and belief with respect to all other matters. The numbered

paragraphs herein correspond to the numbered paragraphs in the Complaint.

                                            ANSWER

                                           Introduction

       1.     Horizon admits that in paragraph 1 of the Complaint, Best Brands purports to set

forth an action for a declaratory judgment that Best Brands’ Mix’n Play Slime kits do not

infringe Horizon’s SLIMYGLOOP and SLIMYGLOOP MIX’EMS trademarks, or trade dress




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rights. The remaining allegations contained in paragraph 1 are legal conclusions to which no

response is required.

       2.       Horizon admits that in paragraph 2 of the Complaint, Best Brands purports to set

forth an action for a declaratory judgment that Horizon does not have any valid trade dress or

trademark rights. The remaining allegations contained in paragraph 2 are legal conclusions to

which no response is required.

       3.       Horizon admits that in paragraph 3 of the Complaint, Best Brands purports to seek

damages for alleged tortious interference with Best Brands’ business. However, Horizon denies

that Best Brands has alleged, anywhere in its Complaint, allegations constituting tortious

interference.

                                           The Parties

       4.       Horizon lacks knowledge and information sufficient to form a belief as to the

truth or falsity of the allegations in paragraph 4 of the Complaint and, therefore, denies the same.

       5.       Admitted.

                                     Jurisdiction and Venue

       6.       Paragraph 6 of the Complaint contains legal conclusions to which no response is

required.

       7.       Paragraph 7 of the Complaint contains legal conclusions to which no response is

required.

       8.       Paragraph 8 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, Horizon does not contest that this Court is the

proper venue for the parties’ dispute.




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                                                     Facts

        9.       Horizon lacks knowledge and information sufficient to form a belief as to the

truth, falsity, or authenticity of the allegations in paragraph 9 of the Complaint and, therefore,

denies the same.

        10.      Horizon lacks knowledge and information sufficient to form a belief as to the

truth, falsity, or authenticity of the allegations in paragraph 10 (including Exhibit A) of the

Complaint and, therefore, denies the same.

        11.      Admitted.

        12.      Admitted.

        13.      Admitted.

        14.      Paragraph 14 of the Complaint contains legal conclusions to which no response is

required.

                Plaintiff’s Non-Infringement of Defendant’s Alleged Trademarks

        15.      Horizon repeats and incorporates by reference its responses to the allegations in

paragraphs 1 through 14 of the Complaint as though set forth fully herein.

        16.      Admitted.

        17.      Admitted.

        18.      Admitted.1

        19.      Horizon lacks knowledge and information sufficient to form a belief as to the

truth or falsity of the allegations in paragraph 19 of the Complaint and, therefore, denies the

same.




1
 Horizon assumes that when referring to “trademark serial no. 8,807,2148,” Best Brands was referring to Horizon’s
U.S. Trademark Appl. Ser. No. 88/072,148.


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        20.    Horizon lacks knowledge and information sufficient to form a belief as to the

truth or falsity of the allegations in paragraph 20 of the Complaint and, therefore, denies the

same.

        21.    The first four sentences of paragraph 21 of the Complaint contain legal

conclusions to which no response is required. Horizon lacks knowledge and information

sufficient to form a belief as to the truth or falsity of the allegations in the remaining sentences of

paragraph 21 of the Complaint and, therefore, denies the same.

        22.    Denied.

        23.    Horizon admits the allegations in the first sentence of paragraph 23 of the

Complaint. Horizon lacks knowledge and information sufficient to form a belief as to the truth

or falsity of the allegations in the second sentence of paragraph 23 of the Complaint and,

therefore, denies the same.

        24.    Denied.

        25.    Paragraph 25 of the Complaint contains legal conclusions to which no response is

required.

              Plaintiff’s Non-Infringement of Defendant’s Alleged Trade Dress

        26.    Horizon repeats and incorporates by reference its responses to the allegations in

paragraphs 1 through 25 of the Complaint as though set forth fully herein.

        27.    Admitted.

        28.     Paragraph 28 of the Complaint contains legal conclusions to which no response is

required.

        29.    Denied.

        30.    Denied.

        31.    Denied.


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        32.    Denied.

        33.    Denied.

        34.    Denied.

        35.    Denied.

        36.    Denied

        37.    Denied.

        38.    Denied.

        39.    Denied.

        40.    Denied.

        41.    Denied.

          Defendant’s Tortious Interference with Plaintiff’s Business Relationship

        42.    Horizon repeats and incorporates by reference its responses to the allegations in

paragraphs 1 through 41 of the Complaint as though set forth fully herein.

        43.    Horizon lacks knowledge and information sufficient to form a belief as to the

truth or falsity of the allegations in paragraph 43 of the Complaint and, therefore, denies the

same.

        44.    Horizon lacks knowledge and information sufficient to form a belief as to the

truth or falsity of the allegations in paragraph 44 of the Complaint and, therefore, denies the

same.

        45.    Denied.

        46.    Denied.

        47.    Denied.

        48.    Denied.

        49.    Denied.


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       50.     Denied.

      Count I: Declaration of Non-Infringement of Defendant’s Alleged Trademarks

       51.     Horizon repeats and incorporates by reference its responses to the allegations in

paragraphs 1 through 50 of the Complaint as though set forth fully herein.

       52.     Horizon admits the allegations in the first sentence of paragraph 52 of the

Complaint. The second sentence of paragraph 52 of the Complaint contains legal conclusions to

which no response is required.

       53.     Denied.

       54.     Denied.

       55.     Denied.

      Count II: Declaration of Non-Infringement of Defendant’s Alleged Trade Dress

       56.     Horizon repeats and incorporates by reference its responses to the allegations in

paragraphs 1 through 55 of the Complaint as though set forth fully herein.

       57.     Horizon admits the allegations in the first sentence of paragraph 57 of the

Complaint. The second sentence of paragraph 57 of the Complaint contains legal conclusions to

which no response is required.

       58.     Denied.

       59.     Denied.

       60.     Denied.

       61.     Denied.

                 Count III: Declaration of Invalidity of Defendant’s Alleged
                            Trademarks and Trade Dress Rights

       62.     Horizon repeats and incorporates by reference its responses to the allegations in

paragraphs 1 through 61 of the Complaint as though set forth fully herein.



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        63.    Horizon admits the allegations in the first sentence of paragraph 63 of the

Complaint. The second sentence of paragraph 63 of the Complaint contains legal conclusions to

which no response is required.

        64.    Denied.

                          Count IV: Declaration of Lack of Damages

        65.    Horizon repeats and incorporates by reference its responses to the allegations in

paragraphs 1 through 64 of the Complaint as though set forth fully herein.

        66.    Denied.

   Count V: Defendant’s Intentional Interference with Plaintiff’s Business Relationship

        67.    Horizon repeats and incorporates by reference its responses to the allegations in

paragraphs 1 through 66 of the Complaint as though set forth fully herein.

        68.    Horizon lacks knowledge and information sufficient to form a belief as to the

truth or falsity of the allegations in paragraph 68 of the Complaint and, therefore, denies the

same.

        69.    Denied.

        70.    Denied.

        71.    Denied.

        72.    Denied.

                                         Prayer for Relief

        Horizon denies that it is liable to Best Brands or that Best Brands is entitled to judgment

against Horizon.




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                                  AFFIRMATIVE DEFENSES

        As and for its Affirmative Defenses, Horizon hereby alleges as follows:

                                          FIRST DEFENSE

        Best Brands is not entitled to the relief requested in the Complaint, in whole or in part,

because Horizon’s trademarks are valid, subsisting, and in full legal force and effect throughout

the United States.

                                         SECOND DEFENSE

        Best Brands is not entitled to the relief requested in the Complaint, in whole and/or in

part, because Best Brands’ use of the mark MIX’N PLAY SLIME is likely to cause confusion

with Horizon’s marks or Horizon’s SLIMYGLOOP MIX’EMS play gel kits offered thereunder

in violation of federal and state law.

                                         THIRD DEFENSE

        Best Brands is not entitled to the relief requested in the Complaint, in whole and/or in

part, because Best Brands’ use of the confusingly similar mark MIX’N PLAY SLIME to trade

off the extensive consumer recognition and goodwill, and commercial success, enjoyed by

Horizon’s SLIMYGLOOP MIX’EMS play gel kits, and generate turnkey brand recognition for

Best Brands’ confusingly similar MIX’N PLAY slime kits, constitutes unfair competition in

violation of federal and state law.

                                         FOURTH DEFENSE

        Best Brands is not entitled to the relief requested in the Complaint, in whole and/or in

part, because Horizon has the right to notify third parties that they are infringing Horizon’s

intellectual property rights.

                                         FIFTH DEFENSE

        Best Brands has not suffered any damages attributable to, or caused by, Horizon.


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                                       SIXTH DEFENSE

       Best Brands has failed to mitigate its damages, if in fact there are any.

                                     SEVENTH DEFENSE

       Best Brands is not entitled to the relief requested in the Complaint, in whole and/or in

part, because Best Brands comes to Court with unclean hands.

                                      EIGHTH DEFENSE

       Best Brands is not entitled to receive its attorneys’ fees or statutory damages.

                        ADDITIONAL AFFIRMATIVE DEFENSES

       Horizon reserves the right to raise additional affirmative defenses as further information

becomes available.

       WHEREFORE, having fully answered, Horizon prays that this Court deny all relief

sought by Best Brands in the Complaint (including, without limitation, the entirety of the

Complaint’s Prayer for Relief on pages 11-12 thereof), enter judgment in favor of Horizon and

against Best Brands on the Complaint, award Horizon its costs, attorneys’ fees and expenses, and

grant Horizon such other and further relief as this Court deems just and proper.




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                                      COUNTERCLAIMS

       As for its Counterclaims against Plaintiff/Counterclaim-Defendant Best Brands, Horizon

hereby alleges as follows:

                                         THE PARTIES

       1.      Horizon is a New Jersey corporation, with a principal place of business at 45

Technology Drive, Warren, New Jersey 07059.

       2.      On information and belief, Best Brands is a New York corporation having its

principal place of business at 25 Merrick Avenue, Suite 2, Merrick, New York 11566

                                    JURISDICTION AND VENUE

       3.      The counterclaims for federal trademark infringement, unfair competition, and

trade-dress infringement asserted in Counts I-IV infra arise under the Trademark Act of 1946 (as

amended), namely, 15 U.S.C. §§ 1051 et seq. Therefore, this Court has subject matter and

original jurisdiction over Counts I-IV infra pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331

and 1338(a), respectively.

       4.      The counterclaim for copyright infringement asserted in Count V infra, arises

under the Copyright Act of 1976, namely, 17 U.S.C. §§ 101 et seq. Therefore, this Court has

subject matter and original jurisdiction over Count V pursuant to 28 U.S.C §§ 1331 and 1338(a).

       5.      The counterclaims for trademark infringement and unfair competition asserted in

Counts VI-IX infra arise under New Jersey statutory and common law, and are so related to the

federal claims asserted in Counts VI-IX infra that they form part of the same case or controversy.

Therefore, this Court has subject matter jurisdiction over Counts VI-IX infra pursuant to 28

U.S.C. §§ 1338(b) and 1367(a).

       6.      This Court has personal jurisdiction over Best Brands because Best Brands has

submitted to this Court’s personal jurisdiction by suing Horizon in this District. In addition, on


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information and belief, Best Brands transacts and solicits business within the State of New Jersey

(including within this judicial district) on a regular and continuous basis. Therefore, this Court

has personal jurisdiction over Best Brands.

        7.      Because Best Brands is subject to personal jurisdiction in the State of New Jersey,

including within this judicial district, venue is therefore proper in this judicial district pursuant to

28 U.S.C. § 1391(b)(3).

                         FACTS COMMON TO ALL CLAIMS FOR RELIEF

  I.    Horizon

        8.      From humble beginnings, Horizon’s predecessor began manufacturing crafts in

1912 as a small company located in New York City. Today, Horizon is a leading supplier of

children’s activity kits and craft components in the United States.

        9.      Horizon’s brands are recognized and trusted for delivering high quality and

innovation at an exceptional value and artistic exploration for children, particularly its children

activity kits. Horizon has received several awards for its kits, including awards from Creative

Child Magazine, Family Choice Awards, Teacher’s Choice Awards, Parent’s Choice Fun Stuff

Awards and several products that were a Dr. Toys’ Best Pick.

        10.     Horizon products are known for using vibrant, distinctive graphics to inspire

children, whether by showing how to build and paint a birdhouse or making scientific experience

fun for the early and advanced learner.




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A.      Horizon’s SLIMYGLOOP MIX’EMS Play Gel Kits

        11.      One of Horizon’s popular brands of children activity kits is its “SLIMYGLOOP®”

play gel kits.




        12.      Horizon’s SLIMYGLOOP® play gel kits are an innovative line of do-it-yourself,

all-in-one activity kits and related products that provide customers with a unique, hands-on

method of creating play gel.

B.      Horizon’s SLIMYGLOOP MIX’EMS Trademarks

        13.      Since at least as early as 2017, Horizon has offered its play gel kits under its

distinctive SLIMYGLOOP® mark and SLIMYGLOOP® design mark (shown below)

(collectively, the “SLIMYGLOOP Marks”):




        14.      As shown supra, Horizon’s SLIMYGLOOP® design mark consists of the stylized

term “SLIMYGLOOP” with drippings falling below, and from, each letter in SLIMYGLOOP.




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       15.     As part of the SLIMYGLOOP line of play gel products, Horizon offers an activity

kit for children to create embellished play gel under the SLIMYGLOOP MIX’EMS word mark

and the SLIMYGLOOP MIX’EMS design marks (shown below) (collectively, the

“SLIMYGLOOP MIX’EMS Marks”):




       16.     These play gel kits include colorful beads, sparkles, figurines, and other

embellishments, which allow consumers to enhance the play gel and make it even more exciting.

       17.     In the course of using and protecting the SLIMYGLOOP Marks and

SLIMYGLOOP MIX’EMS Marks, Horizon has obtained the following U.S. trademark

registrations and filed the following trademark applications:




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                     Reg. or         Reg. or        Int.
     Mark                                                           Goods and Services
                    Appl. No.      Filing Date      Cls.
 SLIMYGLOOP       5,470,827      May 15,            28     Children’s activity kits sold as a unit
 word mark        (the “’827     2018                      for making toy modeling dough in the
                  Registration”)                           nature of slime
                  5,470,966      May 15,            28     Children’s activity kits sold as a unit
                  (the “’966     2018                      for making toy modeling dough in the
                  Registration”)                           nature of slime
 SLIMYGLOOP       88/072,148      August 9,         28     Children's activity kit comprised of a
 MIX’EMS word                     2018                     container, glitter, figurines, beads, and
 mark                                                      styrofoam balls sold as a unit for
                                                           making toy premade slime.
                  88/246,989      January 2,        28     Children's activity kit for making toy
                                  2019                     modeling dough in the nature of free-
                                                           flowing play gel comprised of glitter,
                                                           sequins, mixing stick, beads, plastic
                                                           spoon, jars, measuring cup, color
                                                           dyes, glow in the dark powder, wiggly
                                                           eyes, sodium packets, and glue sold as
                                                           a unit.
                  88/246,983      January 2,        28     Children's activity kit for making toy
                                  2019                     modeling dough in the nature of free-
                                                           flowing play gel comprised of glitter,
                                                           sequins, mixing stick, beads, plastic
                                                           spoon, jars, measuring cup, color
                                                           dyes, glow in the dark powder, small
                                                           toy figures, sodium packets, and glue
                                                           sold as a unit.
                  88/246,970      January 2,        28     Children's activity kit for making toy
                                  2019                     modeling dough in the nature of free-
                                                           flowing play gel comprised of glitter,
                                                           sequins, mixing stick, beads, plastic
                                                           spoon, jars, measuring cup, color
                                                           dyes, glow in the dark powder, wiggly
                                                           eyes, sodium packets, and glue sold as
                                                           a unit.

      18.    Attached hereto as Exhibit A are true and correct copies of the ’827 and ’966

Registrations (the “SLIMYGLOOP Registrations”).




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       19.     By operation of law, the SLIMYGLOOP® Registrations constitute prima facie

evidence of the validity of the marks, and of Horizon’s “exclusive right to use” the

SLIMYGLOOP® name on or in connection with children’s activity kits sold as a unit for making

toy modeling dough in the nature of slime. See 15 U.S.C. § 1115(a).

C.     Horizon’s SLIMYGLOOP MIX’EMS Trade Dress

       20.     Since at least as early as 2017, Horizon has developed and used its distinctive

trade dress and product packaging for its SLIMYGLOOP MIX’EM play gel kits.

       21.     Horizon’s SLIMYGLOOP MIX’EMS Trade Dress consists of, inter alia : (i) the

trademarks SLIMYGLOOP and/or SLIMYGLOOP MIX’EMS centered at the top of the

consumer-facing packaging; (ii) the tagline “Just Mix & Play”; (iii) a product configuration

comprising a reusable container, glitter slime, and three unique embellishments; (iv) a sub-

product name in white bubble letters in the bottom left-hand corner; and (v) a packaging layout

comprising three small circular containers wrapping around a single larger circular container.

       22.     Horizon’s SLIMYGLOOP MIX’EMS Trade Dress creates an overall uniform

look and feel throughout Horizon’s SLIMYGLOOP MIX’EMS play gel kits.

       23.     Horizon’s SLIMYGLOOP MIX’EMS Trade Dress is inherently distinctive.

       24.     Horizon expends substantial time, labor, and expense on advertising, marketing,

and promoting its SLIMYGLOOP MIX’EMS play gel kits bearing its SLIMYGLOOP

MIX’EMS Trade Dress.




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       25.       Horizon not only draws consumers’ attention to Horizon’s SLIMYGLOOP

MIX’EMS Trade Dress through its packaging, but also prominently features the Trade Dress on

its website, in advertising, and at leading industry trade shows and toy fairs throughout the

United States.




       26.       Moreover, consumers receive nationwide exposure to Horizon’s SLIMYGLOOP

MIX’EMS play gel kits featuring Horizon’s SLIMYGLOOP MIX’EMS Trade Dress at retailers

such as Target, Barnes & Noble, Walmart, and Hobby Lobby, as well as on e-commerce sites,

such as Amazon.com.

       27.       Because of Horizon’s extensive advertising, marketing, and promotion of its

SLIMYGLOOP MIX’EMS play gel kits featuring SLIMYGLOOP MIX’EMS Trade Dress, as

well as unsolicited media coverage and consumer reviews of the same, the SLIMYGLOOP

MIX’EMS Trade Dress is a strong source identifier in the marketplace for Horizon and

Horizon’s SLIMYGLOOP MIX’EMS play gel kits.

       28.       Horizon’s SLIMYGLOOP MIX’EMS Trade Dress has acquired distinctiveness.

       29.       Horizon’s SLIMYGLOOP MIX’EMS Trade Dress is non-functional.




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        30.      Horizon’s SLIMYGLOOP MIX’EMS Trade Dress is ornamental and used on the

packaging for Horizon’s SLIMYGLOOP MIX’EMS play gel kits for aesthetic and marketing

purposes.

        31.      Horizon owns all rights, title, and interest in and to the Horizon SLIMYGLOOP

MIX’EMS Trade Dress.

        32.      The SLIMYGLOOP MIX’EMS Trade Dress represents a valuable asset for

Horizon.

D.      Horizon’s Copyrighted SLIMYGLOOP MIX’EMS Designs

        33.      The designs for Horizon’s SLIMYGLOOP MIX’EMS play gel kits constitute

original works of authorship, fixed in tangible mediums of expression.

        34.      Pursuant to 17 U.S.C. § 411(a), Horizon owns numerous copyright registrations

for its designs, including.

                      Copyright
                                               Registration No.     Registration Date
              (the “Copyrighted Designs”)
              Dragon SlimyGloop Mix’ems         VA 2-128-478        November 30, 2018
              Gross SlimyGloop Mix’ems          VA 2-128-640        November 30, 2018
              Unicorn SlimyGloop Mix’ems        VA 2-128-639        November 30, 2018

        35.      Attached hereto as Exhibit B are true and correct copies of the copyright

registrations for the Copyrighted Designs, registered with the United States Copyright Office.

E.      Horizon’s SLIMYGLOOP MIX’EMS play gel kits Enjoy Enormous Consumer
        Goodwill and Commercial Success

        36.      Horizon’s SLIMYGLOOP MIX’EMS play gel kits offered under Horizon’s

SLIMYGLOOP Marks and SLIMYGLOOP MIX’EMS Marks are for sale in prominent retailers

around the country, including Target, Barnes & Noble, Walmart, and Hobby Lobby, as well as,

on the Internet, including through websites such as Amazon.com.



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        37.    Horizon expends substantial resources on advertising, marketing, and promoting

its SLIMYGLOOP MIX’EMS play gel kits under its SLIMYGLOOP Marks and SLIMYGLOOP

MIX’EMS Marks.

        38.    These efforts have paid tremendous dividends, as Horizon’s SLIMYGLOOP

MIX’EMS play gel kits offered have been the subject of widespread, unsolicited media coverage

and consumer reviews. See Exhibits C and D. In fact, Horizon’s SLIMYGLOOP MIX’EMS

play gel kits were considered one of the “Hottest Toys for 2018.” See Exhibit E.

        39.    Horizon’s SLIMYGLOOP MIX’EMS play gel kits offered under and featuring

the SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks, SLIMYGLOOP MIX’EMS

Trade Dress and SLIMYGLOOP Copyrighted Designs enjoy enormous consumer goodwill and

commercial success.

        40.    Indeed, in less than two years, Horizon has sold millions of dollars’ worth of

SLIMYGLOOP MIX’EMS play gel kits offered under and bearing the SLIMYGLOOP Marks,

SLIMYGLOOP MIX’EMS Marks, SLIMYGLOOP MIX’EMS Trade Dress and SLIMYGLOOP

Copyrighted Designs.

F.      Best Brands and the Infringing Products

        41.    Upon information and belief, Best Brands is an inexpensive supplier of

“knockoff” children’s activity kits in the United States.

        42.    Upon information and belief, Best Brands’ business model is to identify

successful products in the toy industry and to create inexpensive counterfeit versions of these

toys.




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       43.     Upon information and belief, after Horizon began using its SLIMYGLOOP

Marks, Best Brands adopted and began using the mark MIX’N PLAY SLIME (the “Infringing

Mark”) and the below trade dress (the “Infringing Trade Dress”) (collectively, the “Infringing

Marks”), for the inset play-gel products (the “Infringing Products”):




       44.     The Infringing Marks are confusingly similar in sight, sound, connotation, and

commercial impression to Horizon’s SLIMYGLOOP Marks.

       45.     Best Brands’ substitution of the SlimyGloop with “Slime” and Mix’ems with

“Mix’n Play” does not differentiate or distinguish Best Brands’ confusingly similar MIX’N

PLAY SLIME mark from Horizon’s SLIMYGLOOP Marks.

       46.     Moreover, as described in paragraph 21, supra, Horizon’s SLIMYGLOOP

MIX’EMS Trade Dress consists of, inter alia : (i) the trademarks SLIMYGLOOP and/or

SLIMYGLOOP MIX’EMS centered at the top of the consumer-facing packaging; (ii) the tagline

“Just Mix & Play”; (iii) a product configuration comprising a reusable container, glitter slime,

and three unique embellishments; (iv) a sub-product name in white bubble letters in the bottom

left-hand corner; and (v) a packaging layout comprising three small circular containers wrapping

around a single larger circular container.



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       47.     As can be shown by the side-by-side comparison below, the Infringing Trade

Dress similarly include: (i) the words MIX’N PLAY SLIME centered at the top of the consumer-

facing packaging; (ii) a product configuration comprising a reusable container, glitter slime, and

three unique embellishments; and (iii) a packaging layout comprising three small circular

containers wrapping around a single larger circular container.




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       48.     Furthermore, the Infringing Products copy numerous other features of Horizon’s

SLIMYGLOOP MIX’EMS play gel kits.

       49.     Horizon has a SLIMYGLOOP MIX’EMS play gel kit called Unicorn. Best

Brands knockoff version is also called Unicorn. Just like that of Horizon’s Unicorn

SLIMYGLOOP MIX’EMS play gel kit, the theme of Best Brands’ Unicorn play gel kit

comprises two unicorn figurines, 50 faceted beads, a glitter packet, and a dark pink glitter play

gel.

         Horizon’s Unicorn Play Gel                       Best Brands’ Knockoff Version




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       50.     Horizon has a SLIMYGLOOP MIX’EMS play gel kit called Dragon. Best

Brands knockoff version is also called Dragon. Just like that of Horizon’s Dragon

SLIMYGLOOP MIX’EMS play gel kit, the theme of Best Brands’ Dragon play gel kit

comprises two dragon figurines, 40 metallic faceted beads, foam balls, and a dark red glitter play

gel.

         Horizon’s Dragon Play Gel                        Best Brands’ Knockoff Version




       51.     Horizon has a SLIMYGLOOP MIX’EMS play gel kit called Gross. Best Brands

knockoff version is called Monster. Just like that of Horizon’s Gross SLIMYGLOOP MIX’EMS

play gel kit, the theme of Best Brands’ Monster play gel kit comprises 50 wiggly eyes, 30 poms,

foam balls, and a neon green glitter play gel.




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         Horizon’s Gross Play Gel                      Best Brands’ Knockoff Version




       52.    Upon information and belief, Best Brands adopted its confusingly similar

Infringing Marks with actual knowledge of Horizon’s rights in and to Horizon’s SLIMYGLOOP

Marks and SLIMYGLOOP MIX’EMS Marks.

       53.    Best Brands advertises, markets, and promotes its Infringing Products to the same

consumers as those of Horizon’s SLIMYGLOOP MIX’EMS play gel kits.

       54.    Best Brands advertises, markets, and promotes its Infringing Products in the same

channel of trade as those of Horizon’s SLIMYGLOOP MIX’EMS play gel kits

       55.    Consumers are exposed to Best Brands’ Infringing Products and Horizon’s

SLIMYGLOOP MIX’EMS play gel kits at common Internet retailers, such as Walmart.com and

Amazon.com.

       56.    Upon information and belief, Best Brands adopted the Infringing Marks to trade

off the extensive consumer recognition and commercial success enjoyed by Horizon’s

SLIMYGLOOP MIX’EMS play gel kits offered under Horizon’s SLIMYGLOOP Marks and

SLIMYGLOOP MIX’EMS Marks.



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          57.   Without Horizon’s authorization, permission, or consent, Best Brands has

willfully used, copied, adapted, displayed, or reproduced the original constituent elements of the

Copyrighted Designs on and in connection with its Infringing Products.

          58.   It is also clear from the striking and substantial similarity between the

Copyrighted Designs and the Infringing Products that Best Brands had seen the Copyrighted

Designs, and then intentionally copied it in designing the Infringing Products.

          59.   Best Brands, by its acts complained of herein, has infringed the SLIMYGLOOP

Marks, SLIMYGLOOP MIX’EMS Marks and the Copyrighted Designs, unfairly competed with

Horizon in the marketplace, and otherwise improperly used the reputation and goodwill of

Horizon to promote the Infringing Products, which is not connected with, or authorized,

approved, licensed, produced or sponsored by, Horizon.

          60.   Best Brands’ acts of infringement have caused Horizon to sustain monetary

damage, loss and injury, in an amount to be determined at trial.

          61.   Best Brands has engaged in these activities willfully, so as to justify the

assessment of treble damages and attorneys’ fees under 15 U.S.C. § 1117.

          62.   The aforesaid acts of Best Brands have caused and, unless restrained and enjoined

by this Court, will continue to cause irreparable damage, loss and injury to Horizon, for which

Horizon have no adequate remedy at law.

                                        COUNT I
                  (Federal Trademark Infringement Under 15 U.S.C. § 1114)

          63.   Horizon incorporates paragraphs 1-62 of the Complaint as though set forth fully

herein.

          64.   Count I is for federal trademark infringement in violation of 15 U.S.C. § 1114.




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        65.     Horizon is the exclusive owner of all rights, title, and interest in and to the

SLIMYGLOOP Marks (including, without limitation, the ’827 and ’966 Registrations).

        66.     Horizon’s rights in and to the SLIMYGLOOP Marks predate any rights that Best

Brands could claim in and to the confusingly similar Infringing Marks.

        67.     Horizon’s SLIMYGLOOP Marks are inherently distinctive for Horizon’s

SLIMYGLOOP MIX’EMS play gel kits.

        68.     Horizon’s SLIMYGLOOP Marks have acquired distinctiveness because

consumers associate Horizon as the exclusive source of SLIMYGLOOP MIX’EMS play gel kits.

        69.     Best Brands’ use in commerce of the Infringing Marks to advertise, market,

promote, distribute, offer for sale, and/or sell Best Brands’ products (including, but not limited

to, the Infringing Products), without Horizon’s consent, is likely to cause confusion, cause

mistake, and/or deceive consumers into mistakenly believing that Best Brands is Horizon, or is a

licensee, authorized distributor, or affiliate of Horizon, or that Best Brands, its activities, and/or

its products, are authorized, endorsed, sponsored, or approved by Horizon, or vice versa.

        70.     Upon information and belief, Best Brands adopted and uses the Infringing Marks

in furtherance of its willful, deliberate, and bad faith efforts to trade on the extensive consumer

goodwill and commercial success enjoyed by Horizon’s SLIMYGLOOP Marks.

        71.     Upon information and belief, Best Brands has made, and will continue to make,

substantial profits and gain from using the confusingly similar Infringing Marks, to which it is

not entitled in law or equity.

        72.     Upon information and belief, Best Brands’ acts and conduct complained of herein

constitute federal trademark infringement in violation of 15 U.S.C. § 1114.




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          73.   Horizon has suffered, and will continue to suffer, irreparable harm from Best

Brands’ use of the confusingly similar Infringing Marks, unless restrained by law.

          74.   Horizon has no adequate remedy at law.

                                       COUNT II
                (Federal Trademark Infringement Under 15 U.S.C. § 1125(a))

          75.   Horizon incorporates paragraphs 1-74 of the Complaint as though set forth fully

herein.

          76.   Horizon is the exclusive owner of all rights, title, and interest in and to the

SLIMYGLOOP Marks and SLIMYGLOOP MIX’EMS Marks.

          77.   Horizon’s rights in and to the SLIMYGLOOP Marks and SLIMYGLOOP

MIX’EMS Marks predate any rights that Best Brands could claim in and to the confusingly

similar Infringing Marks.

          78.   Horizon’s SLIMYGLOOP Marks and SLIMYGLOOP MIX’EMS Marks are

inherently distinctive for Horizon’s SLIMYGLOOP MIX’EMS play gel kits.

          79.   Horizon’s SLIMYGLOOP Marks and SLIMYGLOOP MIX’EMS Marks have

acquired distinctiveness because consumers associate Horizon as the exclusive source of

SLIMYGLOOP MIX’EMS play gel kits offered under the SLIMYGLOOP Marks and

SLIMYGLOOP MIX’EMS Marks.

          80.   Best Brands’ use in commerce of the Infringing Marks to advertise, market,

promote, distribute, offer for sale, and/or sell Best Brands’ products (including, but not limited

to, the Infringing Products), without Horizon’s consent, is likely to cause confusion, cause

mistake, and/or deceive consumers into mistakenly believing that Best Brands is Horizon, or is a

licensee, authorized distributor, or affiliate of Horizon, or that Best Brands, its activities, and/or

its products, are authorized, endorsed, sponsored, or approved by Horizon, or vice versa.



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          81.   Upon information and belief, Best Brands adopted and uses the confusingly

similar Infringing Mark in furtherance of its willful, deliberate, and bad faith efforts to trade on

the extensive consumer goodwill and commercial success enjoyed by Horizon’s SLIMYGLOOP

Marks and SLIMYGLOOP MIX’EMS Marks.

          82.   Upon information and belief, Best Brands has made, and will continue to make,

substantial profits and gain from using the confusingly similar Infringing Marks, to which it is

not entitled in law or equity.

          83.   Upon information and belief, Best Brands’ acts and conduct complained of herein

constitute federal trademark infringement in violation of 15 U.S.C. § 1125(a).

          84.   Horizon has suffered, and will continue to suffer, irreparable harm from Best

Brands’ use of the confusingly similar Infringing Marks, unless restrained by law.

          85.   Horizon has no adequate remedy at law.

                                        COUNT III
                (Federal Trade-Dress Infringement Under 15 U.S.C. § 1125(a))

          86.   Horizon incorporates paragraphs 1-85 of the Complaint as though set forth fully

herein.

          87.   Horizon is the exclusive owner of all rights, title, and interest in and to the

SLIMYGLOOP MIX’EMS Trade Dress.

          88.   Horizon’s rights in and to the SLIMYGLOOP MIX’EMS Trade Dress predate

any rights that Best Brands could claim in and to the Infringing Trade Dress.

          89.   Horizon’s SLIMYGLOOP MIX’EMS Trade Dress is non-functional.

          90.   Horizon’s SLIMYGLOOP MIX’EMS Trade Dress is distinctive as to the source

of Horizon’s SLIMYGLOOP MIX’EMS play gel kits, and has acquired secondary meaning




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because consumers associate Horizon as the source of SLIMYGLOOP MIX’EMS play gel kits

featuring the SLIMYGLOOP MIX’EMS Trade Dress.

       91.       Best Brands’ use of its confusingly similar Infringing Trade Dress in commerce to

advertise, market, promote, distribute, offer for sale, and/or sell Best Brands’ Infringing Products

is likely to cause confusion, cause mistake, and/or deceive consumers into mistakenly believing

that Best Brands is Horizon, and/or that Best Brands is a licensee, authorized distributor, or

affiliate of Horizon and/or Horizon’s play gel kits featuring Horizon’s SLIMYGLOOP

MIX’EMS Trade Dress, and/or that Best Brands, its activities, and/or its Infringing Products are

authorized, endorsed, sponsored or approved by Horizon, and/or that Best Brands, its activities,

or vice versa.

       92.       Upon information and belief, Best Brands adopted and uses its confusingly

similar Infringing Trade Dress in furtherance of Best Brands’ willful, deliberate, and bad faith

scheme to trade upon the extensive consumer goodwill and commercial success of Horizon’s

SLIMYGLOOP Trade Dress.

       93.       Upon information and belief, Best Brands has made, and will continue to make,

substantial profits and gain from the sale of products featuring Best Brands’ confusingly similar

Infringing Trade Dress, to which it is not entitled in law or equity.

       94.       Upon information and belief, Best Brands’ acts and conduct complained of herein

constitute federal trade-dress infringement in violation of 15 U.S.C. § 1125(a).

       95.       Horizon has suffered, and will continue to suffer, irreparable harm from Best

Brands’ use of its confusingly similar Infringing Trade Dress, unless restrained by law.

       96.       Horizon has no adequate remedy at law.




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                                        COUNT IV
                    (Federal Unfair Competition Under 15 U.S.C. § 1125(a))

          97.    Horizon incorporates paragraphs 1-96 of the Complaint as though set forth fully

herein.

          98.    Horizon is the exclusive owner of all rights, title, and interest in and to the

SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks, SLIMYGLOOP MIX’EMS Trade

Dress and the Copyrighted Designs.

          99.    Horizon’s rights in and to the SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS

Marks, and SLIMYGLOOP MIX’EMS Trade Dress predate any rights that Best Brands could

claim in and to the confusingly similar Infringing Mark and Infringing Trade Dress.

          100.   Horizon’s SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks, and

SLIMYGLOOP MIX’EMS Trade Dress are inherently distinctive for Horizon’s SLIMYGLOOP

MIX’EMS play gel kits.

          101.   Horizon’s SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks, and

SLIMYGLOOP MIX’EMS Trade Dress have acquired distinctiveness because consumers

associate Horizon as the exclusive source of SLIMYGLOOP MIX’EMS play gel kits.

          102.   Best Brands’ acts and conduct as described herein are likely to cause confusion,

cause mistake, and/or deceive the public into mistakenly believing that the Infringing Products

are either Horizon’s SLIMYGLOOP MIX’EMS play gel kits or that the Infringing Products

originate from or is somehow connected to or associated with Horizon and/or SLIMYGLOOP

Marks, SLIMYGLOOP MIX’EMS Marks, and SLIMYGLOOP MIX’EMS Trade Dress, such as

being sold or sponsored by the same party. Such acts constitute unfair competition, at least

because Best Brands has obtained an unfair advantage as compared to Horizon, through their use




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of the Infringing Mark and Infringing Trade Dress to falsely designate the origin, affiliation or

sponsorship of Best Brands and the Infringing Products.

          103.   Upon information and belief, Best Brands adopted and uses the confusingly

similar Infringing Mark and Infringing Trade Dress in furtherance of its willful, deliberate, and

bad faith efforts to trade on the extensive consumer goodwill and commercial success enjoyed by

Horizon’s SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks, and SLIMYGLOOP

MIX’EMS Trade Dress.

          104.   Upon information and belief, Best Brands has made, and will continue to make,

substantial profits and gain from using the confusingly similar Infringing Mark and Infringing

Trade Dress, to which it is not entitled in law or equity.

          105.   Upon information and belief, Best Brands’ acts and conduct complained of herein

constitute federal unfair competition in violation of 15 U.S.C. § 1125(a).

          106.   Horizon has suffered, and will continue to suffer, irreparable harm from Best

Brands’ use of the confusingly similar Infringing Mark and Infringing Trade Dress, unless

restrained by law.

          107.   Horizon has no adequate remedy at law.

                                          COUNT V
                         Copyright Infringement Under 17 U.S.C. § 501

          108.   Horizon incorporates paragraphs 1-107 of the Complaint as though fully set forth

herein.

          109.   Horizon’s Copyrighted Designs are original, creative works in which Horizon

owns all copyright interests.




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          110.   On information and belief, Best Brands had access to Horizon’s Copyrighted

Designs including, but not limited to, at retail outlets and trade shows where Horizon’s

Copyrighted Designs were displayed and/or available for sale.

          111.   Without Horizon’s authorization, permission, or consent, Best Brands used,

copied, displayed, adapted, and/or reproduced the original constituent elements of Horizon’s

Copyrighted Designs such that Best Brands’ Infringing Products are identical or substantially

similar to Horizon’s Copyrighted Designs.

          112.   On information and belief, Best Brands had knowledge of Horizon’s rights in and

to the Copyrighted Designs before using, copying, displaying, adapting, and/or reproducing the

original constituent elements thereof.

          113.   Upon information and belief, Best Brands’ acts and conduct complained of herein

constitute copyright infringement in violation of 17 U.S.C. § 501.

          114.   Horizon has suffered, and will continue to suffer, irreparable harm from Best

Brands’ unauthorized use, copying, display, adaption, and/or reproduction of the original

constituent elements of Horizon’s Copyrighted Designs unless restrained by law.

          115.   Horizon has no adequate remedy at law.

                                         COUNT VI
                       (Trademark Infringement Under N.J.S.A. § 56:4-1)

          116.   Horizon incorporates paragraphs 1-115 of the Complaint as though set forth fully

herein.

          117.   Horizon is the exclusive owner of all rights, title, and interest in and to the

SLIMYGLOOP Marks (including, without limitation, the ‘827 Registration, and the ‘966

Registration).




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        118.    Horizon’s rights in and to the SLIMYGLOOP Marks predate any rights that Best

Brands could claim in and to the confusingly similar Infringing Marks.

        119.    Horizon’s SLIMYGLOOP Marks are inherently distinctive for Horizon’s

SLIMYGLOOP MIX’EMS play gel kits.

        120.    Horizon’s SLIMYGLOOP Marks have acquired distinctiveness because

consumers associate Horizon as the exclusive source of SLIMYGLOOP MIX’EMS play gel kits

offered under the SLIMYGLOOP Marks.

        121.    Best Brands’ use in commerce of the Infringing Marks to advertise, market,

promote, distribute, offer for sale, and/or sell Best Brands’ products (including, but not limited

to, the Infringing Products), without Horizon’s consent, is likely to cause confusion, cause

mistake, and/or deceive consumers into mistakenly believing that Best Brands is Horizon, or is a

licensee, authorized distributor, or affiliate of Horizon, or that Best Brands, its activities, and/or

its products, are authorized, endorsed, sponsored, or approved by Horizon, or vice versa.

        122.    Upon information and belief, Best Brands adopted and uses the confusingly

similar Infringing Marks in furtherance of its willful, deliberate, and bad faith efforts to trade on

the extensive consumer goodwill and commercial success enjoyed by Horizon’s SLIMYGLOOP

Marks and SLIMYGLOOP MIX’EMS Marks.

        123.    Upon information and belief, Best Brands has made, and will continue to make,

substantial profits and gain from using the confusingly similar Infringing Marks, to which it is

not entitled in law or equity.

        124.    Upon information and belief, Best Brands’ acts and conduct complained of herein

constitute trademark infringement in violation of N.J.S.A. § 56:4-1.




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          125.   Horizon has suffered, and will continue to suffer, irreparable harm from Best

Brands’ use of the confusingly similar Infringing Marks, unless restrained by law.

          126.   Horizon has no adequate remedy at law.

                                       COUNT VII
                  (Trademark Infringement Under New Jersey Common Law)

          127.   Horizon incorporates paragraphs 1-126 of the Complaint as though set forth fully

herein.

          128.   Horizon is the exclusive owner of all rights, title, and interest in and to the

SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks, and SLIMYGLOOP MIX’EMS

Trade Dress.

          129.   Horizon’s rights in and to the SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS

Marks, and SLIMYGLOOP MIX’EMS Trade Dress predate any rights that Best Brands could

claim in and to the confusingly similar Infringing Mark and Infringing Trade Dress.

          130.   Horizon’s SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks, and

SLIMYGLOOP MIX’EMS Trade Dress are inherently distinctive for Horizon’s SLIMYGLOOP

MIX’EMS play gel kits.

          131.   Horizon’s SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks, and

SLIMYGLOOP MIX’EMS Trade Dress have acquired distinctiveness because consumers

associate Horizon as the exclusive source of SLIMYGLOOP MIX’EMS play gel kits.

          132.   Best Brands’ use in commerce of the Infringing Marks to advertise, market,

promote, distribute, offer for sale, and/or sell Best Brands’ products (including, but not limited

to, the Infringing Products), without Horizon’s consent, is likely to cause confusion, cause

mistake, and/or deceive consumers into mistakenly believing that Best Brands is Horizon, or is a




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licensee, authorized distributor, or affiliate of Horizon, or that Best Brands, its activities, and/or

its products, are authorized, endorsed, sponsored, or approved by Horizon, or vice versa.

          133.   Upon information and belief, Best Brands adopted and uses the confusingly

similar Infringing Mark and Infringing Trade Dress in furtherance of its willful, deliberate, and

bad faith efforts to trade on the extensive consumer goodwill and commercial success enjoyed by

Horizon’s SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks, and SLIMYGLOOP

MIX’EMS Trade Dress.

          134.   Upon information and belief, Best Brands has made, and will continue to make,

substantial profits and gain from using the confusingly similar Infringing Mark and Infringing

Trade Dress, to which it is not entitled in law or equity.

          135.   Upon information and belief, Best Brands’ acts and conduct complained of herein

constitute trademark infringement in violation of New Jersey common law.

          136.   Horizon has suffered, and will continue to suffer, irreparable harm from Best

Brands’ use of the confusingly similar Infringing Mark and Infringing Trade Dress, unless

restrained by law.

          137.   Horizon has no adequate remedy at law.

                                        COUNT VIII
                          (Unfair Competition Under N.J.S.A. § 56:4-1)

          138.   Horizon incorporates paragraphs 1-137 of the Complaint as though fully set forth

herein.

          139.   Horizon is the exclusive owner of all rights, title, and interest in and to the

SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks, and SLIMYGLOOP MIX’EMS

Trade Dress.




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       140.    Horizon’s rights in and to the SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS

Marks, and SLIMYGLOOP MIX’EMS Trade Dress predate any rights that Best Brands could

claim in and to the confusingly similar Infringing Mark and Infringing Trade Dress.

       141.    Horizon’s SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks, and

SLIMYGLOOP MIX’EMS Trade Dress are inherently distinctive for Horizon’s SLIMYGLOOP

MIX’EMS play gel kits.

       142.    Horizon’s SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks, and

SLIMYGLOOP MIX’EMS Trade Dress have acquired distinctiveness because consumers

associate Horizon as the exclusive source of SLIMYGLOOP MIX’EMS play gel kits.

       143.    Best Brands’ acts and conduct as described herein are likely to cause confusion,

cause mistake, and/or deceive the public into mistakenly believing that the Infringing Products

are either Horizon’s SLIMYGLOOP MIX’EMS play gel kits or that the Infringing Products

originate from or is somehow connected to or associated with Horizon and/or SLIMYGLOOP

Marks, SLIMYGLOOP MIX’EMS Marks, and SLIMYGLOOP MIX’EMS Trade Dress, such as

being sold or sponsored by the same party. Such acts constitute unfair competition, at least

because Best Brands has obtained an unfair advantage as compared to Horizon, through their use

of the Infringing Mark and Infringing Trade Dress to falsely designate the origin, affiliation or

sponsorship of Best Brands and the Infringing Products.

       144.    Upon information and belief, Best Brands adopted and uses the confusingly

similar Infringing Mark and Infringing Trade Dress in furtherance of its willful, deliberate, and

bad faith efforts to trade on the extensive consumer goodwill and commercial success enjoyed by

Horizon’s SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks, and SLIMYGLOOP

MIX’EMS Trade Dress.




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          145.   Upon information and belief, Best Brands has made, and will continue to make,

substantial profits and gain from using the confusingly similar Infringing Mark and Infringing

Trade Dress, to which it is not entitled in law or equity.

          146.   Upon information and belief, Best Brands’ acts and conduct complained of herein

constitute unfair competition in violation of N.J.S.A. § 56:4-1.

          147.   Horizon has suffered, and will continue to suffer, irreparable harm from Best

Brands’ use of the confusingly similar Infringing Mark and Infringing Trade Dress, unless

restrained by law.

          148.   Horizon has no adequate remedy at law.

                                         COUNT IX
                     (Unfair Competition Under New Jersey Common Law)

          149.   Horizon incorporates paragraphs 1-148 of the Complaint as though set forth fully

herein.

          150.   Horizon is the exclusive owner of all rights, title, and interest in and to the

SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks, and SLIMYGLOOP MIX’EMS

Trade Dress.

          151.   Horizon’s rights in and to the SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS

Marks, and SLIMYGLOOP MIX’EMS Trade Dress predate any rights that Best Brands could

claim in and to the confusingly similar Infringing Mark and Infringing Trade Dress.

          152.   Horizon’s SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks, and

SLIMYGLOOP MIX’EMS Trade Dress are inherently distinctive for Horizon’s SLIMYGLOOP

MIX’EMS play gel kits.




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       153.    Horizon’s SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks, and

SLIMYGLOOP MIX’EMS Trade Dress have acquired distinctiveness because consumers

associate Horizon as the exclusive source of SLIMYGLOOP MIX’EMS play gel kits.

       154.    Best Brands’ acts and conduct as described herein are likely to cause confusion,

cause mistake, and/or deceive the public into mistakenly believing that the Infringing Products

are either Horizon’s SLIMYGLOOP MIX’EMS play gel kits or that the Infringing Products

originate from or is somehow connected to or associated with Horizon and/or SLIMYGLOOP

Marks, SLIMYGLOOP MIX’EMS Marks, and SLIMYGLOOP MIX’EMS Trade Dress, such as

being sold or sponsored by the same party. Such acts constitute unfair competition, at least

because Best Brands has obtained an unfair advantage as compared to Horizon, through their use

of the Infringing Mark and Infringing Trade Dress to falsely designate the origin, affiliation or

sponsorship of Best Brands and the Infringing Products.

       155.    Upon information and belief, Best Brands adopted and uses the confusingly

similar Infringing Mark and Infringing Trade Dress in furtherance of its willful, deliberate, and

bad faith efforts to trade on the extensive consumer goodwill and commercial success enjoyed by

Horizon’s SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks, and SLIMYGLOOP

MIX’EMS Trade Dress.

       156.    Upon information and belief, Best Brands has made, and will continue to make,

substantial profits and gain from using the confusingly similar Infringing Mark and Infringing

Trade Dress, to which it is not entitled in law or equity.

       157.    Upon information and belief, Best Brands’ acts and conduct complained of herein

constitute unfair competition in violation of New Jersey Common Law.




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       158.    Horizon has suffered, and will continue to suffer, irreparable harm from Best

Brands’ use of the confusingly similar Infringing Mark and Infringing Trade Dress, unless

restrained by law.

       159.    Horizon has no adequate remedy at law.

                                    PRAYER FOR RELIEF

       WHEREFORE, based on the foregoing, Horizon prays for judgment against Best

Brands as follows:

A.     That Best Brands, its managers, members, agents, representatives, employees, and agents,

       and those persons in active concert or participation with them, who receive actual notice

       of the Order by personal service or otherwise, be permanently enjoined from:

       (1)     Using the Infringing Mark and/or the Infringing Trade Dress, or any reproduction,

               counterfeit, copy, colorable imitation, or confusingly similar variation thereof, as,

               or as any portion of, a trademark or trade dress used in the connection with the

               sale or provision of any good or service covered by any of Horizon’s

               SLIMYGLOOP Marks, SLIMYGLOOP MIX’EMS Marks or SLIMYGLOOP

               MIX’EMS Trade Dress.

       (2)     Engaging in acts that constitute infringement, unfair competition, false

               representation, or false designation of origin under federal or New Jersey

               trademark law and which would damage or injure Horizon;

       (3)     Engaging in acts that constitute infringement of Horizon’s Copyrighted Designs

               under federal copyright law and which would damage or injure Horizon; or

       (4)     Inducing, encouraging, instigating, aiding, abetting, or contributing to any of the

               aforesaid acts.




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B.    That Best Brands be required to take any actions this Court may direct for the purpose of

      attempting to remedy and alleviate any instance(s) of consumer confusion or mistake, or

      any loss of goodwill or distinctiveness suffered by Horizon or the SLIMYGLOOP Marks,

      as a result of Best Brands’ acts;

C.    That in accordance with 15 U.S.C. § 1118, Best Brands be ordered to deliver up for

      destruction, as this Court shall direct, all articles, labels, signs, prints, packages,

      wrappers, receptacles, and advertisements (and the like) in its possession or under its

      custody or control that use the Infringing Marks and the Infringing Trade Dress in

      connection with any good or service covered by any of Horizon’s SLIMYGLOOP Marks,

      SLIMYGLOOP MIX’EMS Marks and SLIMYGLOOP MIX’EMS Trade Dress;

D.     That in accordance with 15 U.S.C. § 1116, Best Brands be directed to file with this Court

      and serve on Horizon, no later than thirty days after receiving service of this Order, a

      report in writing and under oath setting forth in detail the manner and form in which it

      has complied with the Order;

E.    That in accordance with 15 U.S.C. § 1117(a), Best Brands be ordered to:

      (1)     Account for and pay over to Horizon three times all of the gains, profits, savings,

              and advantages realized by Best Brands from its unlawful activities;

      (2)     Pay over to Horizon treble damages sustained by Horizon from Best Brands’

              unlawful activities;

      (3)     Reimburse Horizon for the costs of this action; and

      (4)     Reimburse Horizon for any reasonable attorney’s fees and costs incurred as a

              result of Best Brands’ unlawful activities, including all attorney’s fees and costs

              incurred during this action;




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F.      That Horizon be awarded both pre-judgment and post-judgment interest on any monies to

        be paid to Horizon by Best Brands;

G.      An Order awarding Horizon punitive and exemplary damages as permitted by New Jersey

        law;

H.      That Horizon be awarded such other and further relief as this Court may deem just and

        proper.

                                 DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38(b), Horizon hereby demands a trial by

jury of all issues so triable.



        Dated: March 1, 2019                          Respectfully submitted,

                                                      /s/ Jeremy Boczko
                                                      James E. Rosini (to apply pro hac vice)
                                                      Jeremy Boczko (DNJ Bar. No. 031702011)
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                                                      Plaintiff Horizon Group USA, Inc.




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                                 CERTIFICATE OF SERVICE

       The foregoing document was filed electronically with the Court on March 1, 2019.

Notice of this filing was sent to all parties by operation of the Court’s electronic filing system.

Parties may access this filing through the Court’s system.



                                                           /s/ Armin Ghiam
                                                           Attorney for Defendant/Counterclaim
                                                           Plaintiff Horizon Group USA, Inc.




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